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AO 9 1 (Rev 11 / 11) Cri mi na l Complaint (appro ved by A USA Manni on)                                                 C&W No . 19-100


                                         UNITED STATES DISTRICT COURT
                                                                                   fo r the
                                                                  Eastern D istri ct of Pennsy l vania

                   United States of A meri ca                                         )
                                   V.                                                 )
                        Jose Lemus-Cruz                                               )       Case N o.   [Cj - l-S 7      Srv'i
                       AKA Jose D. Aleman                                             )
                                                                                      )
                                                                                      )
                                                                                      )
                             Defendant(sj


                                                                  CRIMINAL COMPLAINT
           I, the complainant in thi s case, state that the fo llowing is true to the best of my kno w ledge and beli ef.
On or about the date(s) of                               August 12, 2019 __ ~ ~        --- in the county of                 Philadelphia             in the
        Eastern          Di stri ct of                   Pennsylvania             , the defendant(s) v iolated:

             Code Section                                                                       Offe nse Description
 8 U.S.C. §§ 1326(a)                                          Illegal re-entry after removal




          Thi s criminal complaint is based on th ese fac ts:
 See Attached Affidavit




          ~ Continued on the attached sheet.



                                                                                                                  Complainant ·s signature               J
                                                                                                                     I            J.wu-1115ra,ft°';_ -;i.,.._ C)'f
                                                                                                           Sre.naa 5/rori         cus-+o ~ ,s- Enfc.rafli~f4-f
                                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date:             08/12/2019


City and state:                              Philadelphia , PA                                 Hon . David R. Strawbridge, U.S. Magistrat~ Judge
                                 - -    --    -- -- -~    -   ~   -   -   -   -
                                                                                                                  Printed name and title
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                   IN THE UNITED ST ATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                          AFFIDAVIT


        1.      I, Brenda Sloan, am a Deportation Officer at U.S. Immigration and Customs

Enforcement (" IC E") within the U.S. Department of Homeland Security ("OHS"). I

served as a Border Patrol Agent beginning in May 2006, and I have served as a

Deportation Officer with ICE since September 20, 2015. As a Deportation Officer, I

conduct investigations related to violations of the Immigration and Nationality Act,

specifically foreign-born nationals who have been deported from the United States and

have subsequently re-entered the United States illegally. I am currently assigned to the

ICE Enforcement and Removal Operations Philadelphia, Pennsylvania Field Office and

my duties include investigating violations of Title 8 of the United States Code (" U.S.C") to

include violations of immigration offenses.

        2.      I have prepared this affidavit in support of a criminal complaint against

JOSE DAVID LEMUS-CRUZ, (" LEMUS-CRUZ" AKA JOSE D. ALEMAN), because

there is probable cause to believe LEMUS-CRUZ, an alien, re-entered the United States

after removal , in violation of Title 8, U.S.C . § 1326(a).

        3.      On August 12, 2019, I recei ved information that LEMUS-CRUZ had been

arrested by the Philadelphia Police Department and charged with several crimes, including

robbery, possession of instruments of crime and attempted theft by unlawful taking. Based

on my training and experience, 1 know that any time a police department or other law

enforcement agency runs the fingerprints of any alien who has previously been




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encountered by ICE or another immigration agency, ICE receives electronic notification of

this fact and any match to the alien's known fingerprint identification number. On August

12, 2019, I reviewed the electronic notification showing that the Philadelphia Police

Department had recently run LEMUS-CRUZ ' s fingerprints, which suggested that

LEMUS-CRUZ, with FBI# 528781 PC9, had been encountered by the Philadelphia Police

Department.

        4.     On August 12, 2019, I conducted a check in the National Crime Information

Center ("NCIC'') database for LEMUS-CRUZ 's criminal history, as well as immigration

history. Under the FBI number provided (528781 PC9), l found that LEMUS-CRUZ had

previous encounters with the U.S. Border Patrol. Further checks in the Enforcement Alien

Removal Module ("EARM") database were conducted for LEMUS-CRUZ' immigration

history in the United States. 1 found that LEMUS-CRUZ had been arrested by the U.S.

Border Patrol on September 20, 2018 for illegally entering the United States. LEMUS-

CRUZ was ordered removed from the United States by a designated official pursuant to

Section 235(b)(l)(A)(iii) of the Immigration and Nationality Act, as amended, on

September 20, 2018. LEMUS-CRUZ was subsequently removed from the United States

on September 27, 2018.

       5.      Based on my training and experience, I know that ICE maintains a file on

all aliens encountered by ICE. This file, known as the Alien File ("A File"), contains

documentation relating to the alien, including his/her photograph, warrants of deportation,

fingerprints, documents reflecting criminal history, documents reflecting the country of

citizenship, and other documents . Each alien is assigned an identification number, referred




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to as the "Alien Number." A Search of ICE databases revealed that JOSE DAVID

LEMUS-CRUZ has been assigned Alien Number 201 -349-892.

       7.      On August 12, 2019, I reviewed documents from the A File pertaining to

JOSE DAVID LEMUS-CRUZ, with Alien Number 201 -349-892 . Based on a review of

this file and DHS electronic records and databases, I have concluded that it does in fact

pertain to JOSE DAVID LEMUS-CRUZ. The following representations are based on my

review of the aforementioned records and databases:

               a.     LEMUS-CRUZ is a citizen and national of Honduras.

               b.     LEMUS-CRUZ' s date of birth is February 13, 1981 and this affidavit

       and the Complaint to which it is attached correctly reflect LEMUS-CRUZ's name.

               c.     On September 20, 2018, LEMUS-CRUZ was served an Expedited

       Removal by U.S. Border Patrol pursuant to Section 235(b)(l)(A)(iii) of the

       Immigration and Nationality Act, as amended.

               d.     On September 20, 2018, LEMUS-CRUZ was ordered removed by a

       designated official pursuant to Section 235(b )( 1)(A)(iii) of the Immigration and

       Nationality Act, as amended.

               e.     The United States, pursuant to a "Warrant of Deportation/Removal,"

       removed LEMUS-CRUZ on or about September 27, 2018, through Harlingen,

       Texas, to Honduras.

               f.     A search of ICE databases revealed that LEMUS-CRUZ did not seek

       permission of the United States Attorney General , or his successor, the Secretary of

       the Department of Homeland Security, to re-enter as required by 8 U.S.C. 1360(d).




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       8.      Based on all of the foregoing, there is probable cause to conclude that

JOSE DA YID LEMUS-CRUZ illegally re-entered the United States after removal, in

violation of Title 8, U.S.C . § 1326(a). I therefore respectfully ask that the Court issue a

warrant ordering his arrest for such crime.




                                                BRENDA SLOAN
                                                Deportation Officer
                                                Immigration and Customs Enforcement


SUBSCRIBED TO AND SWORN TO BEFORE ME
THIS 12th DAY OF AUGUST 2019.




HONORABLE DAVID R. STRAWBRIDGE
United States Magistrate Judge




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